     Case 4:21-cv-01109-O Document 11 Filed 10/19/21                Page 1 of 3 PageID 186



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

JONATHAN FRANKLIN,                             §
                                               §
        Plaintiff,                             §
                                               §
v.                                             §     CIVIL ACTION No. 4:21-cv-1109-O-BP
                                               §
U.S. GOVERNMENT,                               §
                                               §
        Defendant.                             §

                 FINDINGS, CONCLUSIONS AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE

        In this case, Plaintiff has filed a civil case with a motion for leave to proceed in forma

pauperis. Resolution of the motion was referred to the United States Magistrate Judge pursuant to

the provisions of 28 U.S.C. § 636(b) and Special Order No. 3. The findings, conclusions and

recommendation of the United States Magistrate Judge are as follows:

                               FINDINGS AND CONCLUSIONS:

        A.     NATURE OF THE CASE

        This case is a new civil action.

        B.     PARTIES

        Jonathan Franklin is the plaintiff. The defendant is listed as the U.S. Government.

        C.     LEGAL ANALYSIS

        Plaintiff initially filed a long form in forma pauperis application, but as he provided

inconsistent and incomplete information, the Court issued an Order and Notice of Deficiency

directing Plaintiff to again fully complete and file a long-form motion to proceed in forma pauperis.

ECF No. 7. That order informed Plaintiff that he had to provide complete and accurate answers to
   Case 4:21-cv-01109-O Document 11 Filed 10/19/21                   Page 2 of 3 PageID 187



all of the sections of the long form. Id. Plaintiff Franklin has now filed a second long form in

forma pauperis motion/application. ECF No. 9. Upon review of the contents of the completed

motion/application, however, the answer provided to some questions was “0,” and the bulk of the

questions were not answered. See id. And, to the question about providing additional information,

he responded only “Tax Delinquent letter from the IRS.” Id. Otherwise, Franklin filed a non-

responsive document entitled “Royal House of the Netherlands,” with an attached Wikipedia page

about the biblical character Jonathan. ECF No. 10. The document provides no information to assist

the Court in resolving Franklin’s pauper status. Because the IFP applications submitted by Franklin

do not provide any information sufficient to enable the Court to determine whether he qualifies as

a pauper under 28 U.S.C. § 1915(a)(1)—that is “an affidavit that includes a statement of all assets

. . . [and] that the person is unable to pay such fees or give security therefor”—the

motions/applications to proceed in forma pauperis must be denied.

                                     RECOMMENDATION

       The undersigned therefore RECOMMENDS that United States District Judge Reed

O’Connor DENY Plaintiff’s motions to proceed in forma pauperis (ECF Nos. 2, 9).

       It is further RECOMMENDED that Judge O’Connor inform Plaintiff that the complaint

will be subject to dismissal without further notice under Federal Rule of Civil Procedure 41(b)

unless Plaintiff pays to the clerk of Court the filing and administrative fees of $402.00 within seven

(7) days after his order. In addition to the filing fee of $350, the District Court Miscellaneous Fee

Schedule requires payment of an administrative fee for filing a civil action in district court of $52.

See 28 U.S.C.§ 1914(a) and District Court Miscellaneous Fee Schedule, note 14.




                                                  2
   Case 4:21-cv-01109-O Document 11 Filed 10/19/21                   Page 3 of 3 PageID 188



   NOTICE OF RIGHT TO OBJECT TO PROPOSED FINDINGS, CONCLUSIONS, AND
      RECOMMENDATION AND CONSEQUENCES OF FAILURE TO OBJECT

       A copy of these findings, conclusions, and recommendation shall be served on all parties

in the manner provided by law. Under 28 U.S.C. § 636(b)(1), each party to this action has the right

to serve and file specific written objections in the United States District Court to the United States

Magistrate Judge’s proposed findings, conclusions, and recommendation within fourteen (14) days

after the party has been served with a copy of this document. The United States District Judge need

only make a de novo determination of those portions of the United States Magistrate Judge’s

proposed findings, conclusions, and recommendation to which specific objection is timely made.

See 28 U.S.C. § 636(b)(1). Failure to file by the date stated above a specific written objection to a

proposed factual finding or legal conclusion will bar a party, except upon grounds of plain error

or manifest injustice, from attacking on appeal any such proposed factual findings and legal

conclusions accepted by the United States District Judge. See Douglass v. United Servs. Auto

Ass’n, 79 F.3d 1415, 1428–29 (5th Cir. 1996) (en banc), superseded by statute 28 U.S.C. §

636(b)(1) (extending the deadline to file objections from ten to fourteen days).

       It is further ORDERED that the above-styled and numbered action, previously referred to

the undersigned for findings, conclusions, and recommendation, be and is hereby, RETURNED

to the docket of the United States District Judge.

       SIGNED on October 19, 2021.



                                                      Hal R. Ray, Jr.
                                                      UNITED STATES MAGISTRATE JUDGE




                                                  3
